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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 23-36 (RBW)
WILLIAM DUNFEE,
Defendant.
)
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
April 26, 2023, via videoconference, it is hereby

ORDERED that, on July 5, 2023, at 9:00 a.m., with the consent of the parties, the parties
shall appear before the Court for a status hearing, via videoconference. It is further

ORDERED that, with the consent of the government and the defendant, the time from
April 26, 2023, to July 5, 2023, is excluded under the Speedy Trial Act, in light of the need for
additional time for the defendant and defense counsel to review the discovery materials provided

by the government and to discuss how the defendant wishes to proceed in this case.

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eS. WALTON
Unie States District Judge

SO ORDERED this 26th day of April, 2023.
